











NUMBER 13-07-053-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


_____________________________________________________________


JON ALAN ASHCRAFT,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.

_____________________________________________________________


On appeal from the County Court at Law No. 1


of Cameron County, Texas.


_____________________________________________________________


MEMORANDUM OPINION





Before Justices Yañez, Garza, and Benavides


Memorandum Opinion Per Curiam






	Appellant, JON ALAN ASHCRAFT, attempts to appeal a conviction for reckless
driving.  The trial court has certified that this "is a plea-bargain case, and the
defendant has NO right of appeal."  See Tex. R. App. P. 25.2(a)(2).

	On March 20, 2007, this Court notified appellant's counsel of the trial court's
certification and ordered counsel to: (1) review the record; (2) determine whether
appellant has a right to appeal; and (3) forward to this Court, by letter, counsel's
findings as to whether appellant has a right to appeal, or, alternatively, advise this
Court as to the existence of any amended certification.

	On April 19, 2007, counsel filed a letter brief with this Court.  Counsel's
response does not establish (1) that the certification currently on file with this Court
is incorrect or (2) that appellant otherwise has a right to appeal.  

	The Texas Rules of Appellate Procedure provide that an appeal must be
dismissed if the trial court's certification does not show that the defendant has the
right of appeal.  Tex. R. App. P. 25.2(d); see Tex. R. App. P. 37.1, 44.3, 44.4.
Accordingly, this appeal is dismissed.  Any pending motions are denied as moot.


						PER CURIAM


Do not publish.  Tex. R. App. P. 47.2(b).

Memorandum Opinion delivered and filed 

this the 17th day of May, 2007.









			


